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                             EXHIBIT E




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                                                    AT-WILL EMPLOYMENT AGREEMENT
                                                                                                        4/25/2022
         THIS AT-WILL EMPLOYMENT AGREEMENT (“Agreement”) is entered into on this _____________________ by and be-
         tween OtterSec LLC, a Wyoming limited liability company (the “Company”), and the person identified as Employee in the
         signature line below (“Employee”).

        1. AT-WILL EMPLOYMENT. Employee understands and agrees that Employee’s employment with the Company is “at will”
        for no definite term and, as such, can be terminated by the Company for any reason or cause or without any reason or cause
        at any time so long as the termination does not violate federal, state, or local law. Nothing contained in this Agreement is
        intended to or shall be interpreted to create employment for a definite term. This Agreement will be effective as of the date
        Employee affixes Employee’s signature below. Employee understands and agrees that any work Employee performs on behalf
        of the Company shall be referred to herein as the “Services.”

        2. EMPLOYEE’S REPRESENTATIONS. Employee affirms that all oral and written statements made by Employee to Com-
        pany representatives during the hiring process are true and complete.

        3. CONFIDENTIAL INFORMATION. During the term of this Agreement, Employee has or will receive information that is pro-
        prietary and confidential to the Company (“Confidential Information”), including but not limited to customer lists and names,
        customer information, vendors, intellectual property, inventions, discoveries, financial information, policies, procedures, opera-
        tions, plans, methods of doing business, strategic plans, computer systems and finances, intellectual property (whether or not
        reduced to writing and in any and all stages of development), information, data, trade secrets, know-how, ideas, processes,
        computer programs, source code, flowcharts, logic diagrams, pricing policies, forecasts, research, designs, drawings, formulas,
        marketing techniques and plans, and anything else of a similar nature. The term “Confidential Information” as used herein shall
        encompass all such information in all forms (i.e. electronic, written or oral) whether it originates from the Company or from third
        parties that have shared such Confidential Information with the Company and/or Employee.

                 (a)        Confidential Information of Third Parties. Employee understands that, from time to time, Confidential In-
        formation may be submitted to the Company by third parties (i.e. by other persons or entities) and that said Confidential Infor-
        mation falls within the scope of this Agreement. Employee further understands that as a condition for receiving said Confidential
        Information, the Company may enter into an agreement with said third party restricting or prohibiting use, transfer or disclosure
        of said Confidential Information. Employee agrees to respect any such agreement and to avoid any action or inaction that is
        inconsistent with the obligations lawfully imposed on the Company thereunder and to treat said Confidential Information with the
        same (or greater) degree of care than is afforded to the Company’s Confidential Information addressed herein.

                  (b)       Delivery of Confidential Information on Termination of Agreement. Employee agrees that all Confidential
        Information which Employee creates or to which Employee has access as a result of Employee’s performance of the Services
        is, and shall remain, the sole and exclusive property of the Company. In addition, all documents, records and files, in any media
        of whatever kind and description, relating to the business, present or otherwise, of the Company and any copies, in whole or in
        part, thereof (collectively, the “Documents”), whether or not prepared by Employee, are and shall remain the sole and exclusive
        property of the Company. Upon the termination of this Agreement for any reason, and at such other times as may be specified
        by the Company, Employee shall immediately deliver to the Company any and all Confidential Information and Documents (and
        all copies thereof including, without limitation, all electronically stored versions) and all other property of the Company then in
        Employee’s possession or under Employee’s control. Employee agrees that Employee will not copy Company information to
        personal devices and/or accounts without written authorization from the Company and, that even with authorization, Employee
        must delete and/or remove such copied information upon request by the Company.

                 (c)      No Use or Disclosure of Confidential Information. Except as necessary in the performance of the Services
        or as expressly authorized in writing by the Company, Employee shall not directly or indirectly: (a) disclose, reveal or make
        available any Confidential Information to any other person or entity; (b) aid, encourage or allow any other person or entity to
        gain possession of or access to any Confidential Information; (c) use, sell, transfer or exploit any Confidential Information or aid,
        encourage or allow any other person or entity to use, sell or exploit any Confidential Information; (d) exercise judgment or
        perform analysis based upon knowledge of Confidential Information; or (e) otherwise enter into any agreement or understanding
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        (oral or written) with any party, or otherwise circumvent, avoid, bypass, and/or obviate the Company with respect to its relation-
        ship with any party whose identity is Confidential Information, including any work to be performed by the Company with respect
        thereto. This Section 3 shall survive the expiration of this Agreement.

                  (d)      Immunity. Pursuant to 18 U.S.C. § 1833(b), an individual shall not be held criminally liable under any Federal
        or State trade secret law for the disclosure of a trade secret that (A) is made (i) in confidence to a Federal, State, or local
        government official, either directly or indirectly, or to an attorney; and (ii) solely for the purpose of reporting or investigating a
        suspected violation of law; or (B) is made in a complaint or other document filed in a lawsuit or other proceeding, if such filing is
        made under seal. Nothing in this Agreement is intended to conflict with 18 U.S.C. § 1833(b) or create liability for disclosures of
        trade secrets that are expressly allowed by 18 U.S.C. § 1833(b). An individual who files a lawsuit for retaliation by an employer
        for reporting a suspected violation of law may disclose the trade secret to the attorney of the individual and use the trade secret
        information in the court proceeding, if the individual (A) files any document containing the trade secret under seal; and (B) does
        not disclose the trade secret, except pursuant to court order.

        4. WORK FOR HIRE. Employee expressly agrees that everything Employee creates, writes or develops in the course of
        providing the Services shall be “works made for hire” as defined by U.S. copyright law and the property of the Company, including
        all inventions, technology, programs, text, ideas, computer code, processes, trade secrets, techniques, operating ideas, Confi-
        dential Information, processes and materials, whether or not published, patented, copyrighted, registered or suitable therefor,
        and all intellectual property rights therein, that are made, developed, written, conceived or first reduced to practice by Employee
        in part or in whole, whether alone or with others, during Employee’s employment with Company, to the extent they relate to the
        Company’s business (including future or anticipated business) or are developed using the Company’s time, equipment or ma-
        terials (collectively, “Works”). To the extent such “work for hire” doctrine may be legally inapplicable for any reason, Employee
        hereby assigns to the Company all right, title and interest in the Works, including all rights of patent, trademark, copyright and
        other intellectual property rights, and agrees to execute at the Company’s request subsequent documents as further evidence
        of this assignment. Employee further assigns to the Company all right, title and interest in any invention, patentable or not, made
        or conceived solely or jointly during the course of developing the Services. Employee also agrees to assist the Company, at the
        Company’s expense, as reasonably requested in any efforts the Company may make to obtain a patent or other intellectual
        property protection with respect to the Works or any portion thereof. If Employee has any rights to the Works that cannot be
        assigned to the Company, during the term of such rights Employee unconditionally and irrevocably grants to the Company an
        exclusive, irrevocable, perpetual, worldwide, fully-paid and royalty-free license, with rights to sublicense through multiple levels
        of sublicensees, to reproduce, create derivative works of, distribute, publicly perform and publicly display, by all means now
        known or later developed, such rights and to use, make, have made, or offer for sale, by all means now known or later developed,
        such rights. Employee agrees to promptly disclose the existence, use and manner of operation of any Works to the Company.
        For the avoidance of doubt, the parties hereto acknowledge and agree that (a) the term “Works” shall not include any of the
        foregoing created prior to the date hereof or any tools, methodologies, architecture, code, programs or processes used to create
        the Works, and (b) Employee possesses certain skills, knowledge, know-how, experience, techniques, methods and tools by
        which Employee performs services and none of such shall be deemed Works.

                  (a)        Ownership of Rights. The Company shall be the sole owner of the Works and all rights therein throughout
        the world, including without limitation all intellectual property rights therein. Employee specifically waives any and all “artist’s
        rights” or “moral rights” Employee may have with respect to the Works pursuant to any law or statute. Employee and the Com-
        pany agree that the Services and Works provided to the Company pursuant to this Agreement may be used by the Company in
        its sole discretion.

                  (b)     Warranties. Employee represents and warrants (a) that the Works provided by Employee to the Company
        are and shall be Employee’s original work and will not infringe any copyright or other intellectual property rights of any third
        party, invade any right of privacy, contain any libelous material, or infringe or violate any other right of any third party; (b) that
        Employee is able to perform the Services specified in this Agreement and does not have any understanding or agreement with
        anyone else which restricts Employee’s ability to perform such Services; and (c) that any Services Employee provides and
        Works Employee develops for or discloses to the Company will not in any way be based upon confidential or proprietary infor-
        mation derived from any source other than the Company, unless Employee is specifically authorized in writing by such source
        and by the Company to use such proprietary information.

        5. RESTRICTIVE COVENANTS.

                 (a)       Definitions. The following defined terms shall be used in these restrictive covenants:
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                   “Restricted Area” shall be worldwide. Employee understands and agrees that this broad Restricted Area is necessary,
                   given that the Company operates online, and its Clients may be located anywhere in the world.

                   “Client” shall mean any person or entity that has a business relationship with the Company such that the Company
                   provides services to the person or entity.

                   “Prospective Client” shall mean any person or legal entity that has sent or received communication to or from the
                   Company at any time within one year prior to the termination of this Agreement, or at any time during the Non-
                   solicitation Period, regarding the possibility of becoming a Client. Prospective Clients shall include former Clients, to
                   the extent they satisfy the definition above as a Prospective Client.

                   “Non-solicitation Period” shall mean the period of time during the term of this Agreement and for two years following
                   the termination this Agreement for any reason.

                   (b)       Non-Competition. The business of the Company is highly competitive, and Employee shall have direct ac-
        cess to the Company’s customers and Confidential Information. Due to Employee’s access to Company’s Confidential Infor-
        mation, the Company’s business and its ability to retain clients and attain its goals could be materially jeopardized and irreparably
        and continually damaged if Employee competes with the Company or assist other persons to compete with the Company.
        Accordingly, Employee shall abide by the non-competition restrictions contained herein and acknowledges that they are rea-
        sonable and necessary for the protection of the immediate interests of the Company and that any violation of these restrictions
        could cause substantial injury to the Company. During Employee’s employment with the Company and for a period of one year
        following the cessation of Employee’s employment with the Company for any reason, Employee shall not—either directly or
        indirectly—without the express written permission of the Company, be employed by, own, manage, operate, contract with, con-
        sult for, control, have any financial interest in, or lend his/her name to any person or entity engaged in, a business or enterprise
        that competes with the Company within the Restricted Area. Employee shall not undertake any planning for any outside business
        that will engage in a business competitive with the Company within the Restricted Area.

                 (c)      Non-solicitation. As an inducement to the Company to enter into this Agreement, Employee shall not, with-
        out the Company’s prior written consent, on his/her own account or as an employee, agent, or independent contractor of any
        other person, firm or entity or in any other capacity, do any of the following during the Non-solicitation Period:

                           (i)     Directly or indirectly solicit any Client or Prospective Client for any commercial purpose that is not in
        the interest of the Company, including but not limited to, obtaining business from the Client or Prospective Client for a person
        or entity other than the Company or inducing the Client or Prospective Client to discontinue or diminish its relationship with the
        Company; and/or

                          (ii)     Directly or indirectly—regardless of who initiates contact—do business with or provide services for
        any Client or Prospective Client; and/or

                            (iii)     Directly or indirectly notify any Client or Prospective Client of the termination, or prospective termi-
        nation, of Employee’s engagement with the Company for the purpose of notifying the Client or Prospective Client of Employee’s
        availability to provide services at any other location; and/or

                           (iv)    Directly or indirectly solicit or induce any employee, agent, or independent contractor of the Company
        to discontinue his/her employment or business relationship with the Company; and/or

                           (v)      Directly or indirectly solicit any vendor of the Company to discontinue or diminish its relationship with
        the Company.

                  (d)      Limited Waiver of Covenants under Exceptional Circumstances. The Company may consider modifying
        and/or waiving the restrictive covenants in this Agreement in exceptional circumstances in which the Company determines—in
        its sole discretion—that certain activities in which the Employee might engage, which may otherwise technically violate the
        restrictive covenants herein, would not significantly harm the Company’s legitimate, protectible interests. Any such request for
        modification or waiver must be in writing and can only be authorized in writing signed by the Company’s Founder.
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                  (e)     Fairness of Covenants. Employee agrees that the duration and scope of activities restricted under these
        restrictive covenants are reasonable and necessary to protect the Company’s legitimate business interests. If any court deter-
        mines that these provisions or any portion of these provisions are unenforceable because of the duration or scope of activities
        restricted hereunder, such court shall have the power to and shall reduce such duration or scope to the maximum allowed by
        applicable law. In its reduced form, such provision shall then be enforced, and Employee shall abide by such provisions as
        altered.

                  (f)     Extension of Covenants. In the event of Employee’s breach of any of Employee’s obligations under these
        restrictive covenants, the periods stated under such restrictive covenants shall be automatically extended for the same amount
        of time during which Employee was in breach.

        6. ENFORCEMENT; REMEDIES. Employee acknowledges that if Employee breaches any obligation under this Agreement,
        including a breach of provisions regarding confidentiality or non-solicitation, the Company will suffer immediate and irreparable
        harm and damage and that a remedy at law would be inadequate. Employee therefore agrees that upon such breach or threat-
        ened breach of any obligation under this Agreement, in addition to any and all legal remedies, Company shall be entitled to any
        injunctive relief available without the posting of a bond or other security, in order to prevent or restrain any such breach by
        Employee or by Employee’s partners, agents, representatives, employees, affiliates and/or any and all persons directly or
        indirectly acting for or with Employee. This paragraph shall not be construed as an election of any remedy, or as a waiver of any
        right available to Company under this Agreement or the law, including the right to seek damages from Employee for a breach
        of any provision of this Agreement.

        7. SEVERABILITY. If any part of this Agreement violates any statute or public policy, that part will have no effect, and the rest
        of the Agreement shall be fully enforceable. If any part of this Agreement is unenforceable, the court shall narrow its scope and
        then enforce that part to the maximum effect permissible. The term “Company” wherever used herein includes any current or
        future subsidiaries or affiliates of the Company.

        8. FINAL AGREEMENT. This Agreement constitutes the final complete and exclusive agreement between the Company and
        Employee concerning the subject matter of this Agreement. Any modification, rescission or amendment of this Agreement shall
        not be effective unless made in a writing executed by both parties.

        9. WAIVER. Any waiver of, or promise not to enforce, any right under this Agreement shall not be enforceable unless evi-
        denced by a writing signed by the party making said waiver or promise. No claim nor right arising out of a breach of this Agree-
        ment can be discharged in whole or in part by a waiver or renunciation of the claim or right unless said waiver or renunciation is
        evidenced by writing signed by the aggrieved party. Any waiver or renunciation by a party of any claim or right arising out of a
        breach by the other party of any provision of this Agreement shall not be deemed a waiver or renunciation of any claim or right
        arising out of a subsequent breach of the same provision and shall not affect said other party’s obligation to comply with the
        same provision in the future.

        10. ATTORNEYS’ FEES. If any party is required to bring any action to enforce the terms of this Agreement, the prevailing party
        will be entitled to attorneys’ fees.

        11. HEADINGS. The subject headings of this Agreement are included for purposes of convenience only, and shall not affect
        the construction of any of the provisions of this Agreement.

        12. ASSIGNMENT. Company may assign this Agreement to a successor to all or part of its business or assets without re-
        striction.

        13. EMPLOYMENT-AT-WILL ACKNOWLEDGMENT. Employee understands and agrees that this Agreement does not con-
        stitute a contract of employment for a specific term and that either the Company or Employee may terminate Employee’s em-
        ployment at any time, with or without notice or cause.

        14. APPLICABLE LAW. This Agreement shall be governed by and construed in accordance with the laws of the State of
        Wyoming, without regard to conflicts of law. Any dispute concerning this Agreement must be brought in the state or federal
        courts located in Wyoming.
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            Company and Employee have executed this Agreement to be effective as of the date first written above.

              OTTERSEC LLC:                                           EMPLOYEE:

              By:
                                                                                       Harikesh Kailad
                                                                      Printed Name:
                               Robert Chen
              Printed Name:
                                                                                       5304 Bangor Drive, Kensington MD
                                                                      Address:
                               Founder
              Title:
                                                                                       harikeshkailad@gmail.com
                                                                      Email:          _____________________________



                                                                      EMPLOYEE’S PARENT/GUARDIAN:


                                                                                       Gopal Kailad
                                                                      Printed Name:




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                                          ADDENDUM TO AT-WILL EMPLOYMENT AGREEMENT

         THIS ADDENDUM amends the AT-WILL EMPLOYMENT AGREEMENT (“Agreement”) entered into between Employee and
         the Company. All defined terms used in the Agreement are incorporated herein.

        1. CONSIDERATION. As additional consideration for entering into the Agreement, and notwithstanding Paragraphs 1 and 13
        of the Agreement, for a period of 90 days after Employee signs this Addendum, Employee shall not be deemed an at-will
        employee and may only be discharged for Cause as defined in this Addendum. Upon the expiration of the 90-day period after
        Employee signs this Addendum, however, Employee shall again be deemed an at-will employee in accordance with the terms
        of the Agreement.

        2. CAUSE. The term “Cause” shall mean any of the following: (i) willful misconduct or gross negligence in performance of the
        Services; (ii) a material breach of the provisions of the Agreement; (iii) repeated failure to perform one or more of Employee’s
        essential duties and responsibilities under the Agreement; or (iv) indictment or conviction of, or a plea of nolo contendere by,
        Employee for a (A) a felony or (B) a crime involving moral turpitude.
                                                   4/25/2022
            This addendum is executed on the __________________.

              OTTERSEC LLC:                                              EMPLOYEE:

              By:                                                        By:

                                 Robert Chen                                              Harikesh Kailad
              Printed Name:                                              Printed Name:

                                 Founder                                                   5304 Bangor Drive, Kensington MD
              Title:                                                     Address:
                                                                                          harikeshkailad@gmail.com
                                                                         Email:          __________@__________________




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